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      4                                                                            :$1*N W W AM
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      6                            UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
      7
          UNITED STATES OF AMERICA,                   )
      8                                               )
                              Plaintiff,              )
      9
      '                                               )
                v.                                    )         2:1I-CR-QS7-LDG-CW H
     10                                               )
        NOE CONTRERAS,                                )
     11 akaGûprimilloy''                              )
                                                      )
     12                       Defendant.              )
     13                        PRELIM INARY ORDER O F FO RFEITURE
     14        ThisCourtfindsthatonNovem ber28,2O11,defendantN oE CONTRERAS, akaSiprim illo'',
     15 pled guilty to CountFourofa Four-cotmtCrim inalIndictmentcharging him in CountFourwith

     16 ConspiracytoDistributeMarijuanainviolationofTitle21,UnitedStatesCode,Sections841(a)(1)
     17 and 846. Docket#8.

     l8        ThisCourtfindsdefendantN OE CONTRERAS,aka ttprimillo'', agreed to theforfeitureof
     19 theproperty setforthinForfeitureAllegationsoftheCrim inalIndictm entandthePleaAgreem ent.
     20 #8.

     21         ThisCourtfinds,pursuantto Fed.R.Crim.P,32.2(b)(1)and (2),the United Statesof
     22 America hasshown the requisitenexusbetween property setforth in theForfeitureAllegationsof
     23 the CriminalIndictm ent and the Plea Agreement and the offense to which dcfendant NOE
     24 CONTRERAS,akattprim illo'', pled guilty.

     25         The following assetsare subjectto forfeiturepursuantto Title2l,United Stc
                                                                                        ztesCode,
     26 Section 853(a)(1);Title21,United StatesCode,Section 853(a)(2);Title l8,UnitedStatesCode,
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     1 Section 924(d)(1),(2)(C),and(3)(B)andTitle28,UnitedStatesCode,Section 2461(c);Title21,
     2 UnitedStatesCode,Section881(a)(1llandTitle28,UnitedStatesCode,Section2461(c),including:
     3          (a)    2009DodgeChallenger,Vm 283LJ54T1911503073;
     4          (b)    2008ChevroletTahoe,Vm 1GNFC13J28R194l98;
     5          (c)    2007ChevroletSilverado2500,Vm 1GC1.1r 363717566766;
     6          (d)    2006DodgeSRT Truck,Vm 317711A181.1860152490;
     7          (e)    2005Kenwol'
                                 thMotorTruckTractor,Vm lXKADB9X85J0711204
     8          (9      1999W ilson CommercialTrailer,Vm 4W W 80868KX51602298)
     9          (g)     .40 CaliberSmithandW essonautomatichandgun,Serial# RCA8728;
    10          (h)    Colt.45caliberautomatichandgun,Serial#70N04624;
    11          (i)    $38,980.00inUnited Statescurrency;and
    12          ()     anyandallammtmition Cpropertf).
    13          n isCourtfindstheUnited StatesofAm ericaisnow entitled to,and should,reducethe
    14 aforementioned property to thepossession oftheUnited StatesofAmerica,
    15          N0W THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatthe
    16 United StatesofAm ericashould seizethe aforementioned property.
    17          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED allright,title,andinterestof

    18 NOE CONTRERAS,akadçprim illo'',in theaforementionedpropertyisforfeitedand isvestedinthe

    l9 UnitedStatesofAmericaandshallbesafelyheldbytheUnitedStatesofAmericatmtilfurtherorder
    20 oftheCourt.
    21          IT ISFURTHER ORDERED,ADJUDGED,AND DEcM ED theunitedStatesofAm erica
i
!   22 shallpublishforatlemstthirty(30)consecutivedaysontheofficialinternetgovenunentforfeiture
                                       .



i   23 website,www.forfeiturexgov,noticeofthisOrder,whichshalldescribetheforfeitedproperty, state
    24 thetim eunderthe applicable statutew hen apetition contestingtheforfeiture m ustbefiled, and state
    25 the name and contactinform ation for the governm entattorney to be served with the petition

    26 ptlrsuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,United StatesCode,Section853(n)(2).
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*    1         IT IS FU RTHER O RDERED , ADJUDGED,AN D DECREED a petition,ifany,mustbe

    2 filed with the Clerk oftheCourt,333LasVegasBoulevard South,LasVegas,Nevada 89101.

    3          IT ISFURTHER ORDERED,ADJUDGED,AN D DECREED acopyofthepetition,ifany,
    4                                                                                               !
         shallbe senredupontheAssetForfeitlzre AttorneyoftheUnited StatesAttomey'sOfficeatthe       !
                                                                                                    :
    5 following addressatthe time offiling:                                                         !

    6                 M ichaelA .Hum phreys                                                         E
                      AssistantUnited StatesAttorney
    7                 D anielD .Hollingsw orth
                      AssistantUnited StatesAttorney
    8                 Lloyd D.GeorgeUnited StatesCourthouse
                      333 Las V egasBoulevard South,Suite 5000
    9                 LasVegas,Nevada 89101.
    10         IT IS FU RTHER ORD ER ED,A DJU D GED,AN D DECREED the noticc described herein
    11 need notbepublished in the eventaDeclaration ofForfeiture isissued by theappropriateagency
    12 followingpublicationofnoticeofseizureandintenttoadm inistrativclyforfeittheabove-described
    13 Property.                                                                                '

    14         DA TED this        day of                     ,2011.
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    17                                              I D ST       ES DIST C JUD
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